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{}¥>QW}\® Case 2: 03- -c\/- 02405- .]PI\/|- STA Document 92 Filed 05/04/05 Page lpf wl |WQ¢

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IN THE UNITED STATES DISTRICT COURT
115 11}1‘{ -11 1111§0=]§}@¥{ THE WESTERN DISTRICT OF TENNESSEE APF{ 2 9 2005
WESTERN DIVISION
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R@BER"F scaon 1EWIS w. D; ap 1~, 3§11'?»1115
Plainliff,
vs. No. 03 2405 Ml/P

 
  
 
 

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`W\Wg,. 5 2005
U DATE

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SHELBY COUNTY GOVERNMENT,
and SGT. J. L. MAYES, individually
and in his official capacity,

  

Defendants.

 

 

MOTION BY DEFENDANTS FOR PERMISSION TO FILE JOINT
PRETRIAL ORDER AFTER PRETRIAL CONFERENCE

 

Corne now the Defendants and Would respectfully show unto the Court that this Honorable
Court has set May 9, 2005 for the Pretrial Conference and May 2, 2005 for the Joint Pretrial
Order filing date.

On January 31, 2005, this Honorable Court denied a joint motion requesting a continuance
on the Pretrial Order until after the Court had ruled on Defendants’ Motion for Summary
Judgrnent. In accordance with the Court’s ruling of January 31, 2005,‘ Defendants prepared a
proposed Pretrial Order and filed same on Pebruary 5, 2005. The Pretrial Order is now due on
May 2, 2005. On April 28 and April 29, 2005, by faxes, Kathleen Caldweli’s office faxed a Joint
Pretrial Order. Ms. Caldwell Was in Cincinnati on both April 28 and April 29, 2005. Counsel
for Defendants could not agree to the Joint Pretrial Order as prepared by Plaintiff’s counsel
Defense counsel tried to talk to Ms. Caldwell, but was informed by her secretary on April 28,

2005 was in Cincinnati and when defense counsel again called on April 29 to Plaintiff’s counsel’s

This document entered on the docket sheet 111 comp1iance

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ot`t`ice and the latest call being at approximately 3:30 p.m., and was informed that l\/Is. Caldwell
was in tlight back to l\/lemphis and could not call defense counsel

Del"endants would respectfully ask the Honorable Court to please allow the parties to
prepare a loint Pretrial Order after the date of the Pretrial Conference on May 9, 2005_ Since
counsel for the Defendants cannot communicate with Kathleen Caldwell, attorney for the Plaintiff,
about the Pretrial Order, there is no way to comply with the Court Order ol` May 2, 2005.
Defense counsel would show that the first proposed notice about a Joint Pretrial Order was what
was taxed on April 28, 2005 and that was subsequently changed on April 29, 2005 by another fax.
Both of these proposed faxes had the stamp “dictated by not read,” Kathleen Caldwell Because
defense counsel cannot communicate with Plaintiff’s counsel about whether or not she opposes
this request to pass the Pretrial Order from May 2 until after the Pretrial Conference on May 9,
defense counsel will simply have to file this as Defendants’ request, as opposed to a joint request

For all the above reasons, it is respectfully prayed that this Honorable Court allow the
parties to prepare a .loint Pretrial Order after May 9, 2005. Ms. Caldwell is scheduled to start
a trial on Monday, May 2, 2005, and cannot be available to confer with defense counsel for
purposes of trying to submit a Joint Pretrial Order by the due date of May 2, 2005.

For all the above reasons, it is respectfully prayed that this Honorable Court all the Joint
Pretrial Order to be prepared after May 9, 2005, which is the Pretrial Conference scheduled time.

Respectfully submitted,
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100 North Main Building, Suite 311 '

Merriphis, Tennessee 38103
901-526-6000; Fax 901-526-6030

 

Assistant Shelby County Attorney

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CERTIFICATE OF SERVICE

 

l Eugene C Gaerig do hereby certify that I have mailed a copy ol` the foregoing to
KathleenL Caldwell, Attorneyfor Plaintir",t 2080 PeabodyA\/enue, Memphis Tennessee 38104

this the mg § day of April, 2005.
{M L (/ /Q/

Euge/ne C. Gaeri g

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 92 in
case 2:03-CV-02405 Was distributed by faX, mail, or direct printing on
May 4, 2005 to the parties listed.

 

Eugene C. Gaerig

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100 N. Main Street

Ste. 31 18

l\/lemphis7 TN 38103

Kathleen L. Caldwell

LAW OFFICE OF KATHLEEN L. CALDWELL
2080 Peabody Ave.

l\/lemphis7 TN 38104

Honorable .lon McCalla
US DISTRICT COURT

